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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JULIE ELLEN WARTLUFT et al., : 1:16-cv-2145
Plaintiffs, : Hon. John E. Jones III
V.

THE MILTON HERSHEY SCHOOL
AND SCHOOL TRUST et ai.,

Defendants.

ORDER
July 17, 2019
The Philadelphia Inquirer’s Motion to Intervene and Unseal Judicial
Records, (Doc. 266), is HEREBY REFERRED to U.S. Magistrate Judge Martin
C. Carlson for resolution. In light of our busy docket, the complexity of this
matter, and the time intensive nature of the endeavor, this Court will benefit from

Judge Carlson’s expertise and customary attention to detail in this matter.!

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John ¥. Jones J
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Our Court of Appeals recent analyses in Jn re Avandia Mktg., Sales Practices & Prod.
Liab, Litig., 924 F.3d 662 (3d Cir. 2019) reinforces our view that this matter is best handled by
Judge Carlson.

 

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